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AO 106 (Rev. 04/10) Application for a Search Warrant

United States District Courto
for the f SY |
Western District of New York AN $0

In the Matter of the Search of

(Briefly describe the property to be searched or identify the person by name and address.)
Two Portable Document Files (“the PDFs”), which contain text

messages sent to, and received by, the account +17278886881.

Account +17278886881 is owned, maintained, controlled, or

operated by Secret Phone, which is owned by BP Mobile LLC, 6799 acl.

Collins Ave Office 1602, Miami Beach, FL 33141. BP Mobile C#%¢No-20-mj- 5 O3le
provided the PDFs, by email, to FBI Buffalo on January 27, 2020.

The PDFs are currently in the electronic possession of FBI Buffalo.

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location). See Attachment A, which is attached hereto and incorporated by reference herein,

Located in the Western District of New York, there is now concealed (identify the person or describe the property to be
seized).
Evidence, contraband, fruits and instrumentalities pertaining to violations of 18 U.S.C. § 1030, 18 U.S.C.
§ 1028A, and 18 U.S.C. § 2252A(a), as more fully set forth in Attachment B, which is attached hereto and
incorporated by reference herein.

The basis for search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
& contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
QO a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of 18 U.S.C. § 1030, 18 U.S.C. § 1028A, and 18 U.S.C. § 2252A(a).
The application is based on these facts:

continued on the attached sheet.
O Delayed notice of days (give exact ending date if more than 30 days: ) is
requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

Applicant’s signature

COREY LYONS
SPECIAL AGENT

 
 

Printed name ghd title

Date: January__(/, 2020 Ng cekerH | | ) (tme,

‘fiefs signature

  

HONORABLE MICHAEL J. ROEMER
City and state: Buffalo, New York UNITED STATES MAGISTRATE JUDGE

Printed name and Title
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ATTACHMENT A
This warrant authorizes the search of two Portable Document Files (‘the PDFs”),
which contain text messages sent to, and received by, the account +17278886881, Account
+17278886881 is owned, maintained, controlled, or operated by Secret Phone, which is
owned by BP Mobile LLC, 6799 Collins Ave Office 1602, Miami Beach, FL 33141. BP
Mobile provided the PDFs, by email, to FBI Buffalo on January 27, 2020. The PDFs are

currently in the electronic possession of FBI Buffalo.
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ATTACHMENT B

All records or information, in whatever form, including the contents of any and all
wire and electronic communications, attachments, stored filés, print outs, and header
information that contain evidence, fruits, and instrumentalities of violations of 18 U.S.C.
§ 1030 (unauthorized access to computer systems); 18 U.S.C. § 1028A (aggravated identity

theft); and/or 18 U.S.C. § 2252A(a) (receipt, distribution, and possession of child
pornography) including information pertaining to:

a. The unauthorized access of Snapchat accounts. Such evidence includes records
of IP logins that match those of Snapchat accounts after their original user lost
access, as well as records and communications concerning password resets,
user names, and answers to security questions

b. Records and communications conceming the impersonation of others; the
targeting of victims for such schemes; and material obtained from such
schemes, including personal information, photographs, and videos;

C, All visual depictions, including still images, videos, films or other recordings of
minors engaged in sexually explicit conduct, as defined in Title 18, United
States Code, Section 2256, or engaged in sexually suggestive conduct (such as
exposing and/or touching their breasts or genitalia);

d. Communications revealing the request for, and the obtainment of, victims’
Snapchat login credentials;

e. Communications or records concerning the age of the individuals shown in
any photograph or video accessed from any Snapchat account.
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AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT

 

STATE OF NEW YORK )
COUNTY OF ERIE ) Ss:
CITY OF BUFFALO )

I, Corey Lyons, being duly sworn, depose and state the following:

INTRODUCTION AND AGENT BACKGROUND

1, Lam a Special Agent with the Federal Bureau of Investigation (FBI) and have
been since May 12, 2019. I am currently assigned to the Cyber Task Force, Buffalo Division.
As part of the Cyber Task Force, I work on investigations relating to criminal and national
security cyber intrusions. I received training on cybet matters during my time in Quantico,
VA and have received private sector cyber training. I have worked or assisted with matters
involving unauthorized access to computer systems, internet fraud, and business email
compromises. My work in the FBI, as well as training I have received, has familiarized me
with identifying and handling evidence found in digital media, network analysis, and digital
forensics. I am familiar with fundamental operations of the internet, hardware, software, and
the communication protocols across each. Experience with similar investigations and
working with other FBI Special Agents and computer forensic professionals has expanded my
knowledge of internet communications. I have participated in the execution of warrants
involving the search and seizure of computers, computer equipment, mobile phones and
tablets, and electronically stored information, in conjunction with criminal investigations. I
have also conferred with other FBI Special Agents who have expertise and experience in cyber

investigations and digital evidence.
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2. I make this affidavit in support of an application for a search warrant
authorizing the search of two Portable Document Format files (“the PDFs”) containing text
messages sent to, and received by, the phone number +17278886881.! These PDFs were sent
to FBI Buffalo via email on January 27, 2020 by Secret Phone, which is owned by BP Mobile
LLC, 6799 Collins Ave Office 1602, Miami Beach, FL 33141. The PDFs are currently in FBI
Buffalo’s electronic possession. This affidavit is made in support of an application for a search
warrant under Federal Rule of Criminal Procedure 41 to allow the government to review the

PDFs, which include the content of text messages.

3. I respectfully submit that probable cause exists to believe that evidence,
contraband, fruits, and instrumentalities of violations. of 18 U.S.C. § 1030 (unauthorized
access to computer systems), 18 U.S.C. § 1028A (aggravated identity theft), and 18 U.S.C.

§ 2252A(a) (receipt, distribution, and possession of child pornography) will be found in the

PDFs.

4, Tam familiar with the facts contained in this affidavit based upon my personal
involvement in this investigation, information provided by other law enforcement agents,
particularly agents from the Buffalo Field Office of the FBI, and private companies. Because
this affidavit is submitted for the limited purpose of obtaining this search warrant, I have not
included each and every fact known to me concerning this investigation. I have set forth facts
that believe are necessary to establish probable cause.

BACKGROUND REGARDING SECRET PHONE

 

' A PDF is an electronic file format that, among other things, can display text or graphics in a manner similar to
a traditional printed document,
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5. Based on my training and experience, I have learned the following about Secret
Phone, also known as Second Phone Number:

a. Secret Phone is a mobile application made by BP Mobile and available through
the IPhone App Store and Google Play. The application allows users to acquire a
private phone number for calls and texts.

b. Secret Phone allows users to pick a phone number and purchase credits that
allow them to make calls and texts from that number. Users can choose a phone
number from a list of available numbers in 25 different countries. Users are able to

view their text message history and forward calls to voice mail.

OVERVIEW OF INVESTIGATION
6. On or about December 5, 2019, FBI Buffalo received information regarding a
potential compromise and the victimization of a State University of New York (SUNY)
Geneseo student NC’s Snapchat account, blinkinglights1. According to NC, while at SUNY
Geneseo, in Geneseo, New York, he/she received a message from a Snapchat user (UNSUB)
he/she believed to be DF. NC knew of DF through a mutual acquaintance. The UNSUB
asked NC for his/her Snapchat login credentials under the ruse that they would use NC’s

account to check to see if DF had been “blocked” by another user.

7. NC provided his/her Snapchat login credentials to tae UNSUB and soon after
received a text message from an UNSUB using the phone number +1(626)-515-8283. The
UNSUB was purporting to be Snapchat Security. The text message stated that NC’s Snapchat

account had been locked and he/she needed to provide a pin number to unlock it. The text
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message also advised that the pin requested is the same pin used for NC’s “My eyes only”
folder in his/her Snapchat account. NC provided the pin number to the UNSUB. Shortly
thereafter, NC received an email from the true Snapchat, notifying NC of a new device login
to his/her account. The login was from an IPHONE X using the internet protocol address
176.113.72.166 at 17:38:56 EST on 3 December 2019. Snapchat also notified NC that the
email address associated with his/her blinkinglights1 account was changed from
natalie.m.claus@gmail.com to garyjenny321@outlook.com. After this occurred, NC was no

longer able to access his/her account.

8. Once he/she received access to NC’s account, the UNSUB sent an explicit
photo of NC to all of the female Snapchat users on NC’s friend list. The photo was captioned,
“Flash me back if we are besties”. Four of NC’s friends responded back to the message by
sending explicit pictures of themselves, one of whom was SS. SS stated that he/she received
the message from NC’s account. Once SS replied with his/her picture, he/she noticed that
NC’s account saved the photo, which he/she noted was unusual for NC to do. On 4
December 2019, SS received a text message from NC saying that his/her Snapchat account
was hacked and apologized if anyone received suspicious messages from him/her. SS then

filed a police report fearing that the UNSUB had the explicit photo he/she sent to NC’s

account.

9. During an interview of NC, he/she advised that multiple students from his/her

hometown had their Snapchat accounts hacked in a similar way. Most, if not all, of the
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victims attended Bethichem High School, located in Delmar, New York, and had some

connection to DF.

10. One of those victims, BB, filed a police report on 7 December 2019 because
his/her account was hacked. According to BB, his/her Snapchat account, brogan.bennett,
received messages from IM’s Snapchat account requesting BB’s login credentials for his/her
Snapchat account. The individual operating IM’s account claimed that he/she deleted his/her
Snapchat account and wanted to login from BB’s account to confirm his/her account was
deleted. BB then provided who he/she believed was IM with his/her login credentials. A
short time later, BB received a text message from the phone number +17278886881.
+17278886881 claimed to be Snapchat Security and told BB that his account was locked due
to suspicious activity. +17278886881 then requested his PIN number to unlock the account.
+17278886881 provided a hint for the PIN saying it was the same as BB’s “My Eyes Only”

folder PIN. After BB provided his/her login credentials and PIN, BB was locked out of

his/her account.

11. The UNSUB who obtained unauthorized access to BB’s account then started
sending nude pictures to several of BB’s friends on Snapchat. The nude photos were from
AF’s saved photos on his/her Snapchat account, afresinal223. BB stated that AF’s Snapchat
account was hacked a few days prior to 7 December 2019. BB claimed that the UNSUB took
photos from AF’s account and uploaded them to BB’s account after BB lost access to the

account. This allowed the UNSUB to send the photos of AF to everyone on BB’s friends list.
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12, According to AF, he/she was asked for his/her login credentials by an
individual she thought was DF. This individual claimed that they wanted to get into AF’s
account to see if they had been blocked by another user. Once AF provided his/her login

credentials, he/she was locked out of her account.

13. On 12 December 2019, another individual, MM, filed a police report regarding
similar activity. According to MM, on 12 December 2019 he/she received a Snapchat
message from the username seabass4life, which he/she believed to be used by SC. The
message included a video and a request for him/her to watch it. When MM opened the video.
he/she realized that it was of him/her having sex when he/she was 15 years old. MM was
unaware that SC had his/her account hacked previously. MM stated that several other

Bethlehem graduates recently had their Snapchat accounts hacked,

BACKGROUND REGARDING THE ATTRIBUTION OF +17278886881

 

14. Open source searches for +17278886881 showed that the number was owned
by Onvoy LLC. On or about December 23, 2019 a Grand Jury Subpoena was served to Onvoy
LLC for subscriber information associated with the +17278886881 phone number. In
response to the subpoena, Onvoy LLC indicated that the number was sold to Twilio. On
January 10, 2020, a Grand Jury Subpoena was issued to Twilio for information associated
with the +17278886881 phone number, In response to the subpoena, Twilio indicated that it
had sold the number to BP Mobile. On January 23, 2020 a Grand Jury Subpoena was issued
to BP Mobile for information associated with the +17278886881 phone number. BP Mobile

provided subscriber information, as well as IP login information and call log information.
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15. FBI Buffalo responded to BP Mobile by askirig for timestamps associated with
the IP logins; whether BP Mobile maintains text message transactional data (i.e., “to/from”
information); and, ifso, whether BP Mobile would require additional legal process to disclose
such information. FBI Buffalo also asked if BP Mobile maintained records of the content of
text messages so that FBI Buffalo could, if appropriate, request the text messages via a Search
Warrant. On January 23, 2020, BP Mobile indicated that “[i]f any of the data [the FBI]
mentioned is recorded on [BP Mobile’s] side we will deliver it without additional subpoena
or search warrant.” On January 27, 2020, BP Mobile voluntarily provided FBI Buffalo with
the PDF's, which include the content of text messages sent to and received by + 172788386881,
as well as IP login timestamps and the text message transactional data. Although FBI Buffalo
may already have all necessary authority to review the PDFs (because BP Mobile voluntarily
disclosed them to FBI Buffalo), I seek this additional warrant out of an abundance of caution
to be certain that FBI Buffaio’s’s review of the PDFs will comply with the Fourth
Amendment. In my training and experience, I know that the PDFs are designed, and have
been electronically stored, in a manner in which their contents are in the same state as they

were when the PDFs were first sent to FBI Buffalo.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

 

16. ‘| anticipate executing this warrant by opening and reviewing the PDF files
provided to FBI Buffalo by BP Mobile on January 27, 2020 and reviewing those files to locate

the items described in Attachment B.
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CONCLUSION
17. Based on the foregoing, [ believe there is probable cause to believe that
violations of 18 U.S.C. § 1030 (unauthorized access to computer systems), 18 U.S.C. § 1028A
(aggravated identity theft), and 18 U.S.C. § 2252A(a) (receipt, distribution, and possession of
child pornography) have occurred, and that evidence, contraband, fruits, and
instrumentalities of such violations, as more fully described in Attachment B, will be in the

PDFs described in Attachment A.

18. Venue is proper in the Western District of New York because this warrant
application seeks to search and seize property—i.e., the PDFs—that is currently in the

possession of FBI Buffalo, within the Western District of New York.
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REQUEST FOR SEALING

19. Because this investigation is continuing, disclosure of the search warrant, this
affidavit, and/or this application and the attachments thereto could jeopardize the progress
of the investigation. Public disclosure of the search warrant at this time could jeopardize the
investigation by giving the target(s) an opportunity to destroy evidence, change patterns of
behavior, notify confederates, or flee from prosecution. Accordingly, I request that the Court
issue an order that the search warrant, this affidavit in support of application for search
warrant, the application for search warrant, and all attachments thereto be filed under seal
until further order of this Court.

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Corey Lyons

Special Agent
Federal Bureau of Investigation

Sworn and subscribed to before me this
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_3O*™ day of January, 2420.

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HON. MICHAEL J. fey Cee
United States Magistrate Judge
